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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                  ROME DIVISION

In Re:                                                Chapter 13

LESA HUDGINS,                                         Case No. 18-41351-BEM

                   Debtor.
ALLY FINANCIAL INC.,

                          Movant.
v.                                                    Contested Matter

LESA HUDGINS, Debtor,
MARY IDA TOWNSON, Chapter 13 Trustee,

                          Respondents.

                              OBJECTION TO CONFIRMATION

         COMES NOW, ALLY FINANCIAL INC. (“Movant”), creditor and interested party in

the above Debtor's case, and as its Objection to Confirmation of the Debtor's proposed plan,

show this Court as follows:

                                               1.

         That on June 11, 2018, the Debtor filed a petition for relief under Chapter 13 of the

Bankruptcy Code.

                                               2.

         That the Debtor is indebted to Movant in the amount of $15,725.81 on an installment

sales contract for the purchase of a 2015 CHEVROLET SONIC automobile, VIN:

1G1JC5SH8F4192029 (the “Vehicle”).

                                               3.

         The plan of payment proposed by the Debtor does not comply with the provisions of

§1325 of the Bankruptcy Code.
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                                                    4.

           Movant objects on the grounds that the proposed rate of interest is insufficient to pay

Movant the present value of its claim.

                                                    5.

           Movant objects on the grounds that the proposed plan is not feasible as there are not

sufficient funds allocated to Movant to fund the claim within the applicable commitment period.

                                                    6.

           Movant objects on the grounds that an equal monthly payment must be provided for by

the plan, pursuant to § 1325(a)(5)(b)(iii)(I).

                                                    7.

           Movant objects on the grounds that the Movant is unable to verify that Debtor is

maintaining insurance on the Vehicle, as required by the terms of the contract between the

parties.

                                                    8.

           Movant objects on the grounds that the debt is co-signed but the proposed plan does not

protect the co-signer. In order to protect the co-signer and to allow for the Debtor to obtain the

title to this Vehicle post discharge, the Debtor must amend its plan to treat the debt at the

contract rate of interest.

           WHEREFORE, Movant prays that confirmation of the Debtor's proposed plan be denied

and that it have such other and further relief as is just.

                                                         Shapiro Pendergast & Hasty, LLP

                                                         /s/ Vanessa A. Leo_______________
                                                         Vanessa A. Leo
                                                         Georgia Bar No. 410598
                                                         valeo@logs.com
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                                CERTIFICATE OF SERVICE

       I certify that I am over the age of 18 and that on July 23, 2018, a copy of the foregoing

Objection to Confirmation was served by electronic mail or first class U.S. Mail, with adequate

postage prepaid, on the following persons or entities at the addresses stated below:

Lesa Hudgins
104 Jack Court
Dallas, GA 30157

Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Mary Ida Townson
Chapter 13 Trustee
Suite 2200
191 Peachtree Street, NE
Atlanta, GA 30303-1740


Dated: July 23, 2018                                 Shapiro Pendergast & Hasty, LLP


                                                     /s/ Vanessa A. Leo_____________
                                                     Vanessa A. Leo
                                                     Georgia Bar No. 410598
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